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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                 Judge : Wm R. Wilson, Jr.
counsel: Edward Walker                                                Court Reporter: C. Newburg
counsel:                                                            Courtroom Deputy: M. Johnson
                                                                                      Interpreter:
       vs                                                                        USPO: D. Stansel

AARON K. WEST                                                                Date: February 20, 2007
counsel: Dale Adams
                                                                 CASE NO. 4:06CR00135-03-WRW

                                     SENTENCING MINUTES

Begin: 4:10 p.m.                                                                      End: 4:30 p.m.

Court finds ( X ) grounds - ( ) 5k1.1 ( X ) other ( ) no grounds: for departure
Imprisonment: TIME SERVED

Supervised Release: 3 YEARS                                                           PROBATION:

SPECIAL CONDITIONS OF SUPERVISED RELEASE OR PROBATION:
( X ) Defendant shall participate, if deemed necessary by the probation officers, in a substance abuse
treatment program which may include testing, outpatient counseling, and/or residential treatment and
shall abstain from the use of alcohol throughout the course of any treatment.
( X ) Defendant shall participate in the Home Detention program for a period of _6_ months. During
this time, defendant will be allowed to leave his residence under conditions set by the U.S. Probation
Office. Defendant will be subject to the standard conditions of Home Detention adopted for use in the
Eastern District of Arkansas which ( X )does ( )does not include the requirement to wear an electronic
monitoring devise and to follow EM procedures specified by the Probation Officer. Costs for EM will
be paid by ( ) defendant ( X ) U.S. Probation Office.
( ) Defendant shall participate as directed in mental health treatment as directed by USPO.
( X ) Mandatory drug testing shall apply.
( ) Supervised release is to be administered by the district where the defendant is a legal resident
and/or the district where a suitable release plan has been developed.
( X ) Financial Disclosure.
( X ) The defendant shall cooperate in the collection of DNA as directed by the probation officer.
( ) Defendant is remanded to custody of USM.
(    ) Defendant to surrender to ( ) designated institution ( ) U.S. Marshal ( ) as notified:
( ) Drug testing suspended.
( ) ______ Hours Community Service.

PSR adopted and filed under seal; deft oral motion for downward departure GRANTED; Appeal
rights.

Fine:     ____________N/A_____________          To be paid:_____________N/A__________________
Restitution: __________$40.00___________       To be paid: _________Immediately_______________
Special Assessment:___$100.00___________        To be paid: ________Immediately_______________
